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                                                                                      OF CALIFORNIA
                                                                                      CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                        )             DEFENDANTS ( Check box if you are representing yourself    )
LUIS LICEA, an individual                                                                           GENESCO, INC., a Tennessee corporation; and DOES 1 through 10, inclusive,


(b) County of Residence of First Listed Plaintiff San Bernardino                                   County of Residence of First Listed Defendant Nashville, TN
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are                                  Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                                representing yourself, provide the same information.
Scott J. Ferrell (SBN 202091)                                                                       CARTER L. NORFLEET (SBN 318152)
Victoria C. Knowles (SBN 277231)                                                                    BAKER & HOSTETLER LLP
PACIFIC TRIAL ATTORNEYS                                                                             11601 Wilshire Boulevard, Suite 1400
4100 Newport Place Drive, Ste. 800                                                                  Los Angeles, CA 90025-0509
Newport Beach, California 92660                                                                     Telephone:310.820.8800 - Facsimile:310.820.8859
                                                                                                    Email: cnorfleet@bakerlaw.com
                                                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
II. BASIS OF JURISDICTION (Place an X in one box only.)                                        (Place an X in one box for plaintiff and one for defendant)
    1. U.S. Government                    3. Federal Question (U.S.                                                      PTF        DEF     Incorporated or Principal Place             PTF          DEF
                                                                                          Citizen of This State                             of Business in this State
    Plaintiff                             Government Not a Party)                                                              1      1                                                       4       4
                                                                                          Citizen of Another State                          Incorporated and Principal Place                  5       5
                                                                                                                               2      2
                                                                                                                                            of Business in Another State
    2. U.S. Government                     4. Diversity (Indicate Citizenship             Citizen or Subject of a
                                                                                                                               3      3     Foreign Nation                                    6       6
    Defendant                              of Parties in Item III)                        Foreign Country
IV. ORIGIN (Place an X in one box only.)
    1. Original             2. Removed from           3. Remanded from           4. Reinstated or           5. Transferred from Another               6. Multidistrict            8. Multidistrict
       Proceeding              State Court               Appellate Court            Reopened                   District (Specify)                        Litigation -                Litigation -
                                                                                                                                                         Transfer                   Direct File

V. REQUESTED IN COMPLAINT: JURY DEMAND:                                      Yes            No        (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                Yes       No                          MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. Sections 1331, 1441, and 1446. Single Plaintiff action removable under Federal Question Jurisdiction.
VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES         CONTRACT             REAL PROPERTY CONT.                 IMMIGRATION               PRISONER PETITIONS                        PROPERTY RIGHTS
    375 False Claims Act             110 Insurance               240 Torts to Land                                                  Habeas Corpus:                   820 Copyrights
                                                                 245 Tort Product                                                  463 Alien Detainee                830 Patent
    376 Qui Tam                      120 Marine
                                                                 Liability                                                         510 Motions to Vacate             835 Patent – Abbreviated
    (31 USC 3729(a))                 130 Miller Act                                               462 Naturalization
                                                                 290 All Other Real                                                Sentence                          New Drug Application
    400 State                        140 Negotiable              Property                         Application
                                                                                                                                   530 General                       840 Trademark
    Reapportionment                  Instrument                                                   465 Other
                                                                                                                                   535 Death Penalty
                                     150 Recovery of                                              Immigration Actions
    410 Antitrust                                                                                                                        Other:
    430 Banks and Banking            Overpayment &
                                                                                                     TORTS                         540 Mandamus/Other
                                     Enforcement of                 TORTS
    450 Commerce/ICC                 Judgment                                                  PERSONAL PROPERTY                   550 Civil Rights
                                                                PERSONAL INJURY
     Rates/Etc.                                                                                                                    555 Prison Condition
                                     151 Medicare Act            310 Airplane                     370 Other Fraud                                                            SOCIAL SECURITY
    460 Deportation
                                                                                                                                   560 Civil Detainee                861 HIA (1395ff)
    470 Racketeer Influ-             152 Recovery of              315 Airplane                    371 Truth in Lending
                                                                                                                                    Conditions of
    enced & Corrupt Org.              Defaulted Student           Product Liability               380 Other Personal                Confinement                      862 Black Lung (923)
                                      Loan (Excl. Vet.)                                           Property Damage                                                    863 DIWC/DIWW (405 (g))
     480 Consumer Credit                                         320 Assault, Libel &
                                     153Recovery of                                               385 Property Damage
    490 Cable/Sat TV                                             Slander                                                                                             864 SSID Title XVI
                                     Overpayment of                                               Product Liability
    850 Securities/Com-              Vet. Benefits               330 Fed. Employers’                                                                                 865 RSI (405 (g))
    modities/Exchange                                            Liability                          BANKRUPTCY
                                     160 Stockholders'
                                     Suits                       340 Marine                                                    FORFEITURE/PENALTY
                                                                                                 422 Appeal 28                                                              FEDERAL TAX SUITS
    890 Other Statutory
                                                                  345 Marine Product             USC 158
    Actions                          190 Other                                                                                     625 Drug Related                      870 Taxes (U.S. Plaintiff or
                                                                  Liability
                                     Contract                                                     423 Withdrawal 28                Seizure of Property 21                Defendant)
    891 Agricultural Acts
                                                                 350 Motor Vehicle                USC 157                          USC 881
                                     195 Contract                                                                                                                        871 IRS-Third Party 26 USC
    893 Environmental
                                                                  355 Motor Vehicle                 CIVIL RIGHTS                   690 Other                              7609
    Matters                          Product Liability
                                     196 Franchise                Product Liability               440 Other Civil Rights                  LABOR
    895 Freedom of Info.
    Act                                                           360 Other Personal              441 Voting                       710 Fair Labor Standards
                                                                  Injury                                                           Act
    896 Arbitration                                                                               442 Employment
                                                                 362 Personal Injury-                                              720 Labor/Mgmt.
    899 Admin. Procedures                                                                         443 Housing/
                                   REAL PROPERTY                 Med Malpratice                                                    Relations
    Act/Review of Appeal of                                                                       Accommodations
    Agency Decision                                              365 Personal Injury-                                              740 Railway Labor Act
                                     210 Land                                                     445 American with
                                                                 Product Liability
    950 Constitutionality of         Condemnation                                                 Disabilities-                    751 Family and Medical
    State Statutes                                               367Health Care/                  Employment                        Leave Act
                                     220 Foreclosure
                                                                 Pharmaceutical
                                     230 Rent Lease &                                             446 American with                790 Other Labor
                                                                 Personal Injury
                                     Ejectment                                                    Disabilities-Other               Litigation
                                                                 Product Liability
                                                                                                  448 Education                    791 Employee Ret. Inc.
                                                                  368Asbestos
                                                                  Personal Injury                                                   Security Act
                                                                  Product Liability
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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                      INITIAL DIVISION IN CACD IS:
              Yes     No
                                                        Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                           Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                Orange                                                                                           Southern
corresponding division in response to
Question E, below, and continue from there.             Riverside or San Bernardino                                                                       Eastern


QUESTION B: Is the United States, or                B.1. Do 50% or more of the defendants who reside in
one of its agencies or employees, a                 the district reside in Orange Co.?                              YES. Your case will initially be assigned to the Southern Division.
PLAINTIFF in this action?                                                                                           Enter "Southern" in response to Question E, below, and continue
                                                                                                                    from there.
                                                    check one of the boxes to the right
                   Yes        No                                                                                    NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino          YES. Your case will initially be assigned to the Eastern Division.
Question B.1, at right.                             Counties? (Consider the two counties together.)                 Enter "Eastern" in response to Question E, below, and continue
                                                                                                                    from there.

                                                    check one of the boxes to the right .                           NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.


QUESTION C: Is the United States, or                C.1. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                 district reside in Orange Co.?                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                           from there.
                                                    check one of the boxes to the right
                   Yes       No
                                                                                                                    NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino              Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                 from there.

                                                    check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                                                    Enter "Western" in response to Question E, below, and continue
                                                                                                                    from there.

                                                                                                               A.                          B.                            C.
                                                                                                                                   Riverside or San          Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                                                Bernardino County          Santa Barbara, or San
                                                                                                       Orange County
                                                                                                                                                              Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                 D.1. Is there at least one answer in Column A?                                               D.2. Is there at least one answer in Column B?
                                        Yes             No                                                                          Yes           No

                     If "yes," your case will initially be assigned to the5                                     5If "yes," your case will initially be assigned to the
                                  SOUTHERN DIVISION.                                                                           EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                               Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                       If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                Enter "Western" in response to Question E, below.

QUESTION E: Initial Division?                                                                                              INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                       EASTERN
QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                Yes            No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                        NO                   YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                  YES

        If yes, list case number(s):


         Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;
                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of labor
                     if heard by different judges.



X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Carter L. Norfleet                                                                               DATE:    September 8, 2020

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

      Nature of Suit Code Abbreviation                          Substantive Statement of Cause of Action
                                                     All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
         861                        HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                     (42 U.S.C. 1935FF(b))

         862                        BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                     923)

         863                                         All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                    DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

         863                        DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                     amended. (42 U.S.C. 405 (g))

                                    SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
         864
                                                     amended.

                                                     All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
         865                        RSI              (42 U.S.C. 405 (g))




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